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 1                                                  HONORABLE RICHARD A. JONES

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 5
                          UNITED STATES DISTRICT COURT
 6                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 7

 8     UNITED STATES OF AMERICA,                   No. CR23-58-RAJ

 9                             Plaintiff,
                                                   ORDER GRANTING MOTION
10     v.
                                                   FOR LEAVE TO FILE
       BRANDON DENZEL WASHINGTON,                  OVERLENGTH BRIEF
11
                               Defendant.
12

13
            The Court, having reviewed Defendant Washington’s motion to file overlength
14

15   reply brief enters the following order:

16          Finding good cause, it is ORDERED that the motion is GRANTED.

17

18          DATED this 18th day of December, 2024.

19

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                                                    A
21                                                  The Honorable Richard A. Jones
                                                    United States District Judge
22

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     ORDER - 1
